Case 3:19-cr-00138-CWR Document1 Filed 08/15/19 Page 1of3

AO 91 (Rev. 11/EL} Criminal Complaint

UNITED STATES DISTRICT COURT |

for the

  
 

 

 

Southern District of Mississippi

 

 

 

United States of America )
Vv. 5 iy .
‘ide yn Ses Fog A
Nelson Evaristo LOPEZ-Orozco caseno. S14 My aab LD
)
)
)
Defendantts}
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of August 7, 2019 in the county of Madison ____ inthe
Southern District of Mississippi , the defendant(s) violated:
Code Section Offense Description
8 U.S.C. § 1326 (ay(1)& (2) illegal Reentry

This criminal complaint is based on these facts:

See attached affidavit

Mf Continued on the attached sheet.

Complainant's signatibe“

 

Brent Druery, SA HSI

 

Printed name and title
Sworn to before me and signed in my presence.

Date: 08/15/2019 Hb. Ca ba

perenne Judge's signature

City and state: Jackson, Mississippi Linda R. Anderson, United States Magistrate Judge

 

Printed name and title

 
Case 3:19-cr-00138-CWR Document1 Filed 08/15/19 Page 2 of 3

|

i
r

i

 

AFFIDAVIT FOR PROBABLE CAUSE FOR | AUG 15 ont
A COMPLAINT AND ARREST WARRANT | | [058 A019

 

  

| :
I, Brent Druery, being duly sworn, do hereby depose and state the following? anal
INTRODUCTION AND AGENT BACKGROUND

1. I am employed as a Special Agent with Homeland Security Investigations
(“HSI”), assigned to the Resident Agent in Charge in Jackson, Mississippi. I have been so
employed since November of 2002. I have received training and been assigned to conduct
investigations of criminal violations of the United States Code as enumerated in Titles 8, 18, 19,
21, 22, 31 and various other federal statutes.

2. I submit this affidavit based on information known to me personally from the
investigation, as well as information obtained from others who have investigated the matter or
have personal knowledge of the facts herein. This affidavit is being submitted in support of a
criminal complaint against Nelson Evaristo LOPEZ-Orozco, and, as such, does not inciude all
the information known to me as part of this investigation, but only information sufficient to
establish probable cause for the issuance of a criminal complaint against Neilson Evaristo
LOPEZ-Orozco for violating Title 8, United States Code, Sections 1326(a)(1) and (2), reentry of
removed alien.

PROBABLE CAUSE
3, On August 7, 2019, Immigration and Customs Enforcement (ICE) executed seven
criminal and administrative search warrants at chicken processing company locations across the
Southern District of Mississippi. During the execution of the search warrant at Peco Foods, 1039
West Fulton Street, Canton, Mississippi 39046, ICE officials encountered Nelson Evaristo
LOPEZ-Orozco (Alien # XXXXX7660), an illegal alien from Guatemala. Record checks for

LOPEZ-Orozco revealed two prior encounters by U.S. immigration officials. On or about

 
Case 3:19-cr-00138-CWR Document1 Filed 08/15/19 Page 3 of 3

October 3, 2011, LOPEZ-Orozco was first encountered by U.S. immigration officials in Texas
and was processed as an Expedited Removal. He was thereafter removed to Guatemala from San
Antonio, Texas, on or about October 28, 2011. On or about September 26, 2012, LOPEZ-Orozco
was encountered a second time by U.S. immigration officials in Arizona and was processed as a
Re-instate due to his prior removal. LOPEZ-Orozco was thereafter removed to Guatemala from
Phoenix, Arizona, on or about November 2, 2012. Queries within ICE databases revealed
Nelson Evaristo LOPEZ-Orozco has not received consent from the Attorney General of the
United States or Secretary of Homeland Security to apply for readmission, or to re-enter into the
United States.
CONCLUSION

5. Based on these underlying facts and circumstances, as set forth above, it is my
belief that probable cause exists showing that Nelson Evaristo LOPEZ-Orozco, is a citizen and
national of Guatemala, who reentered and was found in the United States after deportation and
removal without having first obtained the express consent of the Attorney General of the United
States or the Secretary of the Department of Homeland Security, in violation of Title 8, United
States Code, Section 1326(a)(1) and (2).

Respectfully submitted,

 

Brent Diruery
Special Agent
Homeland Security Investigations

Sits
SWORN to before me on this 45 day of August, 2019.

ITED STATES MAGISTRATE JUDGE

 
